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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTH DISTRICT OF GEORGIA
                          ATLANTA DIVISION

PATRICIA JEFF,                 )
                               )
     PLAINTIFF,                )
                               )
v.                             )                     CIVIL ACTION NO.:
                               )
EASTSIDE MEDICAL               )
CENTER, LLC,                   )
ATLANTA MARKET GP, INC.        )
                               )                     JURY TRIAL REQUESTED
     DEFENDANTS.               )
_______________________________)

                                   COMPLAINT

      NOW COMES Plaintiff, Patricia Jeff, and hereby file this action pursuant to

the Fair Labor Standards Act of 1938, 29 U.S.C. §201 et seq. (hereinafter "FLSA"),

seeking payment for unpaid wages, overtime wages, liquidated damages, actual

damages, and compensatory damages, for Defendants’ violation of the FLSA.

Plaintiff further seeks reasonable attorneys’ fees, costs and interest pursuant to 29

U.S.C. §216(b). Plaintiff also brings a related state law claim for damages for breach

of contract. Plaintiff states as follows as her Complaint in this matter:




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I.    JURISDICTION AND VENUE

                                          1.

      Jurisdiction is conferred upon this Court by 29 U.S.C. §§216(b), 215(a)(3) of

the Fair Labor Standards Act, by 29 U.S.C. §1331, this action arising under the laws

of the United States, and by 28 U.S.C. §1337, this action arising under an act of

Congress regulating commerce.

                                          2.

      Venue in this Court is proper pursuant to 28 U.S.C. §1391(b).

                                          3.

      Based upon Plaintiff’s information and belief, Defendant, Eastside Medical

Center, LLC, (“Defendant EMC”), is a domestic Limited Liability Company

existing under the State laws of Georgia. Defendant EMC lists its principal place of

business as One Park Plaza, Nashville, Tennessee, 37203.

                                          4.

      Service of process for Defendant EMC can be effectuated through its

registered agent CT Corporation System at 289 S Culver St, Lawrenceville, Georgia

30046-4805.




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                                            5.

        Based upon Plaintiff’s information and belief, Defendant, Atlanta Market GP,

Inc. (“Defendant GP”) is a Foreign For Profit Company existing under the State laws

of Delaware. Defendant GP lists its principal place of business as One Park Plaza,

Nashville, Tennessee, 37203.

                                            6.

        Service of process for Defendant GP can be effectuated through its registered

agent CT Corporation System at 289 S. Culver St, Lawrenceville, Georgia 30046-

4805.

                                            7.

        The cause of action set forth in this Complaint arose within this jurisdiction.

II.     PARTIES

                                            8.

        Plaintiff is an adult resident citizen of Gwinnett County, Georgia.

                                            9.

        At all times relevant to this Complaint, Plaintiff was a "covered employees"

as defined by 29 U.S.C. §203(e)(1).




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                                               10.

       At all times relevant, Defendants employed the Plaintiff to perform labor for

its benefit and made employment and compensation related decisions regarding the

Plaintiff in this District.

                                               11.

       At all times relevant hereto, Plaintiff suffered and/or was permitted to work

for the benefit of the Defendants.

                                               12.

       Defendants are in the healthcare business, and operate a hospital in Snellville,

Georgia.

                                               13.

       Defendant EMC is the operating entity, transacts business in this district, and

directly employed Plaintiff.

                                               14.

       Upon information and belief, Defendant GP is Defendant EMC’s parent

company, with Defendant EMC making payments to Plaintiff on its behalf.

                                               15.

       Defendants are engaged in interstate commerce for purposes of the FLSA.

Specifically,    Defendants    engage     in     interstate   commerce   by   utilizing


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instrumentalities of commerce by processing electronic payments via the internet,

and send communications across state lines in operating its business from Nashville,

Tennessee.

                                             16.

      Upon information and belief, Defendants’ gross sales are in excess of

$500,000 per year.

                                             17.

      Defendants directed Plaintiff to individually engage in interstate commerce,

by recurrently utilizing instrumentalities of interstate commerce, such as the

telephone and internet in her work.

                                             18.

      Plaintiff as part of her job duties regularly engage in interstate commerce, by

by regularly and recurrently utilizing instrumentalities of interstate commerce, such

as the telephone and internet in her work.

                                             19.

      Plaintiff made telephone calls and utilized the internet with regard to the

treatment of patients that resulted in information being transmitted outside the state

of Georgia and across state lines.




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                                          20.

       Defendants are employers within the meaning of 29 U.S.C. §203(d) and are

not exempt from the FLSA.

III.   FACTUAL ALLEGATIONS

                                          21.

       Plaintiff, is an adult resident of Gwinnett County, Georgia. Plaintiff was

employed by Defendants from November 2018 through February 2020.

                                          22.

       Plaintiff was employed as a nurse during times relevant.

                                          23.

       Defendants compensated Plaintiff on an hourly basis, classifying her as a

nonexempt employee.

                                          24.

       Plaintiff was compensated at the base rate of $38.50 per hour during times

relevant to this Complaint.

                                          25.

       In addition to her base rate of pay, the Defendants also paid Plaintiff shift

differentials and incentive pay.




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                                          26.

      The shift differentials and the incentive pay included but were not limited to

paying Plaintiff an additional $4 per hour when working on weekend shifts, paying

Plaintiff an additional $1.50 per hour when working as a charge nurse, paying

Plaintiff an additional $3.50 when working twelve (12) hour shifts, and paying

Plaintiff a non-tobacco user incentive pay of $25 per pay period, among others.

                                          27.

      Plaintiff was employed in a position that involved interstate commerce as

defined by the FLSA and/or employed in an enterprise that engaged in interstate

commerce.

                                          28.

      As hourly nonexempt employees, Plaintiff was entitled to full pay for each

hour worked and overtime pay for each hour worked in excess of forty (40) in the

workweek.

                                          29.

      During the tenure of her employment, Plaintiff routinely worked in excess of

forty (40) hours per week. For approximately thirty-one (31) weeks worked during

times relevant to this Complaint, Plaintiff worked substantial hours over forty (40)

that were not compensated at the applicable overtime premium.


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                                            30.

      What’s more, the Defendants failed to pay all applicable shift differentials, for

each and every shift when due, which adversely affected the calculation of the

regular rate of pay, thereby resulting in a failure to pay all overtime wages.

                                            31.

      Plaintiff submitted her hours worked on a weekly basis.

                                            32.

      The Defendants, through a limited management group, engaged in a practice

of improperly categorizing each shift worked by failing to pay the applicable shift

differentials for the hours as they were submitted by manually adjusting the

electronic time records. Specifically, the Defendants engaged in a practice of failing

designate each applicable shift differential in order to pay Plaintiff less than what

she was entitled.

                                            33.

      The Defendants also adopted a practice of failing to pay incentive payments

to Plaintiff as part of her compensation.

                                            34.

      Plaintiff was to be paid an incentive payment biweekly for each week that

she did not engage in tobacco use (“Tobacco Incentive”).


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                                          35.

      The Defendants did not pay Plaintiff her Tobacco Incentive for first several

months of her employment.

                                          36.

      Eventually, the Defendants began paying the Tobacco Incentive on a biweekly

basis and paid the Plaintiff a lumpsum catchup for the Tobacco Incentive payments

that were in arrears.

                                          37.

      The failure to include Tobacco Incentive payments in the overtime rate

constitutes as failure to pay overtime at time and one-half of the Regular Rate. The

Regular Rate is “determined by dividing [the] total remuneration for employment

(except statutory exclusions) in any workweek by the total number of hours actually

worked by [the employee] in that workweek for which such compensation was

paid,” pursuant to 29 CFR 778.109 (2018).

                                          38.

      The Defendants’ failure to pay the overtime at the Regular Rate by including

Tobacco Incentive payments, resulted in a failure to pay overtime wages.




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                                           39.

      Defendants have knowingly and willfully failed to comply with the overtime

wage provisions of the FLSA, 29 U.S.C. §207, specifically, by failing to pay Plaintiff

for all hours worked in excess of forty (40) at the applicable overtime rate.

                                           40.

      Defendants have failed to properly post the Department of Labor wage and

hour notices in conspicuous places as required by 29 C.F.R. §516.4.

                                           41.

      Defendants knowingly, intentionally, willfully and recklessly failed to pay the

Plaintiff in conformity with the requirements of the FLSA.

                                           42.

      As a result of the Defendants’ violation of the FLSA, Plaintiff has suffered

damages by failing to receive compensation due in accordance with the FLSA,

resulting in substantial unpaid overtime wages.

                                           43.

      Plaintiff is entitled to the amount of unpaid overtime wages and is also entitled

to recover an additional equal amount as liquidated damages pursuant to the FLSA

and prejudgment and post judgment interest.




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                                           44.

      Defendants have not made a good faith effort to comply with the FLSA.

                                           45.

      Plaintiff is entitled to an award of attorneys’ fees under the FLSA.

                                           46.

      Plaintiff has no plain, adequate or complete remedy to redress the allegation

contained herein and this suit for unpaid overtime wages, liquidated damages and

injunctive relief is the only avenue to secure adequate relief.

                                           47.

      Upon information and belief, for at least three (3) years prior to the filing of

this Complaint, Defendants have had a uniform policy and practice of consistently

failing or refusing to fully compensate its employees for all time worked, including

not receiving the overtime premium wages by failing to include all applicable shift

differentials and incentive payments in the calculation of the Regular Rate of pay.

                                           48.

      For at least three (3) years, Defendants have been aware of the requirements

of the FLSA, the Department of Labor’s regulations, and its own violations of the

FLSA. Despite this knowledge, Defendants failed to pay the amount of pay as

required by law.


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                                         49.

      As a result of the Defendants’ violation of the FLSA, Plaintiff has suffered

damages by failing to receive compensation due in accordance with the FLSA.

IV.   COUNT ONE: FAILURE TO PAY OVERTIME WAGES

                                         50.

      Plaintiff incorporates by reference paragraphs 1 – 49 as if fully set forth

herein.

                                         51.

      Plaintiff as non-exempt employee of Defendants, was entitled to be paid

overtime for each hour worked in excess of forty (40) hours per week.

                                         52.

      The Defendants have willfully failed to compensate Plaintiff for all hours

suffered at the correct overtime rate during her employment.

                                         53.

      When paying overtime, the Defendants failed to include all shift differentials

and incentive payments when computing the Regular Rate.

                                         54.

      Defendants, by such failures, have willfully violated the overtime provisions

of the FLSA.


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V.    COUNT TWO: BREACH OF CONTRACT

                                            55.

      Plaintiff incorporates by reference paragraphs 1 – 55 as if fully set forth

herein.

                                            56.

      Plaintiff and Defendants entered into a binding written contract regarding

her employment (“Agreement”).

                                            57.

      The Plaintiff and Defendants agreed that the Defendants would pay Plaintiff

certain shift differentials, including but not limited to paying Plaintiff an additional

$4 per hour when working on weekend shifts, paying Plaintiff an additional $1.50

per hour when working as a charge nurse, paying Plaintiff an additional $3.50 when

working twelve (12) hour shifts, etc.

                                            58.

      Plaintiff provided the Defendant with legal consideration pursuant to the

Agreement.

                                            59.

      Plaintiff complied with all conditions precedent and other requirements of the

Agreement.


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                                            60.

        Despite being paid some of her shift differentials pursuant to the Agreement,

the Plaintiff was never paid all applicable shift differentials during times relevant to

this Complaint.

                                            61.

        As a result of Defendant’s breach, Plaintiff is entitled to damages.

                                            62.

        The Defendants have been stubbornly litigious and has caused the Plaintiff

unnecessary trouble and expense so as to allow the Plaintiff to recover their

reasonable attorney’s fees and expenses incurred in bringing this action pursuant to

O.C.G.A. §13-6-11.

                                            63.

        Plaintiff is entitled to interest on any sums recovered on account of a breach

of contract until the recovery pursuant to O.C.G.A. §§7-4-2; 13-6-11; 13-6-13.

        WHEREFORE, Plaintiff prays that this Honorable Court enter judgment in

favor for:

   A.        Payment of all overtime wages Plaintiff should have received under the

             FLSA, but for Defendants’ willful violation;

   B.        Payment of an equal amount of liquidated damages pursuant to the FLSA;


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  C.      Such other legal and equitable relief including but not limited to, any

          injunctive and/or declaratory relief, to which they may be entitled;

  D.      All reasonable costs and attorneys’ fees pursuant to the FLSA;

  E.      Damages for Breach of Contract, interest as provided by law and such

          other and further relief as this Court deems just and proper;

  F.      Pre-judgment interest pursuant to O.C.G.A. §§7-4-2

  G.      Such other legal and equitable relief including but not limited to, any

          injunctive and/or declaratory relief, to which they may be entitled; and

  H.      All reasonable costs and attorneys’ fees pursuant to O.C.G.A. §13-6-11.

       Respectfully submitted, this 28th day of January, 2021.

                                       Attorneys for Plaintiff

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                               )                   JURY TRIAL REQUESTED
     DEFENDANTS.               )
_______________________________)

      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1D

      The undersigned certifies that the foregoing COMPLAINT has been

prepared using 14-point Times New Roman font in compliance with Local Rule

5.1(C).

      Respectfully submitted, this 28th day of January, 2021.

                                      Attorneys for Plaintiff

                                      MARTIN | DEMELFI, LLC

                                      /s/ Nicholas P. Martin
                                      Nicholas P. Martin, Esq.
                                      Georgia Bar No. 168722




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